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             EXHIBIT 8
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                                               LAW OFFICES OF

                            M C N AU L E BE L N AWROT & H ELGREN
                                   A PROFESSIONAL LIMITED LIABILITY COMPANY

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                                     SEATTLE, WASHINGTON 98101-3143
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                                                                                            Direct (206) 389-9348

TIMOTHY B. FITZGERALD                                                         E-MAIL: TFITZGERALD@MCNAUL.COM
                                                                                            Direct (206) 389-9338



                                         September 1, 2022

VIA ECF

The Honorable Katherine Polk Failla
United States District Court for the
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     In re Tether and Bitfinex Crypto Asset Litigation
               No. 19 Civ. 9236 (S.D.N.Y.)

Dear Judge Failla:

         Together with O’Melveny & Myers, we represent Defendant Bittrex, Inc. in the
referenced matter. Defendant Poloniex LLC, represented by Nelson Mullins, also joins in this
letter (Bittrex and Poloniex are collectively “the Exchange Defendants”). We write to join in the
requests made by the B/T Defendants in responding to Plaintiffs’ Motion for Kyle W. Roche to
Withdraw as Attorney (Dkt. No. 229) – namely, (1) that Roche Freedman LLP be terminated as
counsel in this case, and (2) that both Mr. Roche and Roche Freedman LLP certify, in connection
with their termination, that they have returned or destroyed all documents and information
produced by the Exchange Defendants and that they have not shared any of those documents or
information with any third party.

        In the video recordings released by Crypto Leaks, Mr. Roche states that “litigation is an
underused tool,” and confirms that he has used class action litigation as a “strategic instrument”
to support non-party Ava Labs, a cryptocurrency company in which he and other Roche
Freedman attorneys maintain a substantial interest. He states that he has used litigation against
other participants in the cryptocurrency space to further the interests of Ava Labs. He goes on to
state that he is Ava Labs’ “crypto expert . . . because I sue half the companies in the space” and
brags that he has “seen in the insides of every single crypto company.” Mr. Roche describes
himself in one of the videos as a “crazy mother****er” who will “take you to the end” to get a
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September 1, 2022
Page 2


piece of paper saying “I own your company now,” and describes that “power” as “a tool that has
not been unlocked by many.”

         Mr. Roche’s statements raise troubling questions about his firm’s use of the discovery
process in this matter. As the Court is aware, Plaintiffs amended their complaint in June 2020 to
add the Exchange Defendants. See Dkt. No. 114. The Amended Complaint relies heavily on
allegations that the B/T Defendants owned or controlled certain accounts on the Exchange
Defendants’ platforms, including specifically the “1AA6” account on Bittrex and the “1J1d”
account on Poloniex, incorrectly describing those accounts as the “Bitfinex deposit address(es).”
Id. at ¶ 207. In response to those allegations, the Exchange Defendants provided Mr. Roche and
his colleagues conclusive evidence, including a sworn declaration from the actual holder of the
supposed “Bitfinex deposit address(es),” that the accounts in question are not and never have
been owned or controlled by the B/T Defendants; instead, they have always been exclusively
owned and controlled by a foreign arbitrage trader who has no relation to the B/T Defendants.
The Exchange Defendants have identified that trader, provided sworn testimony from him about
his arbitrage activities, and produced documents proving that the relevant accounts are—contrary
to the allegations in the Amended Complaint—not owned or controlled by the B/T Defendants.

        Notwithstanding the arbitrage trader’s sworn testimony about his trading, Plaintiffs say
that they cannot yet re-evaluate their claims against the Exchange Defendants because “[f]ull
discovery, from all Defendants, is needed to test the assertions in the Anonymous Declaration.”
Plaintiffs say that such discovery must include “documents and deposition testimony not only
from the declarant, but also from the Exchange Defendants, Bitfinex, and their affiliates.”
Dkt. No. 181 at 2.

        The Exchange Defendants have worked diligently in preparing a substantial production
of documents to Plaintiffs. 1 Mr. Roche’s recent statements raise serious concerns about the intent
behind such discovery and how it will be used. While the Exchange Defendants appreciate that a
protective order has been entered in this matter and that attorneys can be expected to comply
with such orders, Mr. Roche’s statements make clear that he has already used confidential
materials produced in litigation for improper purposes. Moreover, the Court previously
recognized that the protective order is not sufficient protection for certain information
Defendants have produced. See Dkt. No. 195. Under the circumstances, simply accommodating
Mr. Roche’s withdrawal is not sufficient. He remains a member of Roche Freedman, and it must
be assumed that, just as the actions he described in the recently released videos benefited
Mr. Roche, his firm, and Ava Labs, any further access by Roche Freedman to the highly
confidential materials produced in this matter may be subject to similar misuse.

       For the above reasons, the Exchange Defendants respectfully join in the B/T Defendants’
requests that (1) Roche Freedman LLP be terminated as counsel in the matter, and (2) Roche
1
  Plaintiffs originally proposed nearly 300 search terms to each of the Exchange Defendants, many of
which related to broad aspects of the cryptocurrency industry but did not appear related to any of the
claims or defenses in this matter.
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The Honorable Katherine Polk Failla
September 1, 2022
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Freedman LLP be required to certify that is has destroyed all documents produced by the
Defendants in this matter, and that no such materials remain in the possession, custody, or
control of any principals, agents, or employees of the firm.

         Given these revelations, the Exchanges Defendants reserve the right to pursue additional
relief as they obtain more information.


                                             Respectfully,



                                             Gregory J. Hollon
                                             Timothy B. Fitzgerald
GJH/TBF:ln
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September 2, 2022

Via ECF and E-mail

The Honorable Katherine Polk Failla
U.S. District Court Southern District of New York
40 Foley Square, Room 2103
New York, NY 10007

Re:    In re Tether and Bitfinex Crypto Asset Litigation, 19-cv-09236 (KPF)

Dear Judge Failla:

         Selendy Gay Elsberg PLLC (“Selendy Gay Elsberg”) and Schneider Wallace Cottrell
Konecky LLP (“Schneider Wallace”) write in their capacity as interim class counsel, and specifi-
cally not on behalf of the named plaintiffs, in response to the letter dated September 2, 2022, by
Roche Freedman LLP (“Roche Freedman”), ECF No. 232. The named plaintiffs have all reviewed
this letter and stated that they disagree with its content and recommendation; in short, the named
plaintiffs express a strong preference that Roche Freedman remain in the case. 1 Undersigned coun-
sel nevertheless believe they have a duty to the Court and the putative class to inform the Court of
their views. See Fed. R. Civ. P. 23(g)(3) (stating interim class counsel is appointed to “act on behalf
of a putative class.”).

        As explained below, Selendy Gay Elsberg and Schneider Wallace believe that Roche
Freedman’s continued involvement in the litigation is not in the best interests of the class. Accord-
ingly, we respectfully request that the Court terminate Roche Freedman’s status as interim co-lead
counsel. Selendy Gay Elsberg and Schneider Wallace are ready and willing to continue represent-
ing the class as interim co-lead counsel.

        Selendy Gay Elsberg and Schneider Wallace became aware of video recordings of Kyle
Roche, a founding partner of Roche Freedman, when they were published online on August 26,
2022. 2 In the recordings, Mr. Roche makes statements regarding the blockchain industry and his
approach to class action litigation. On August 31, 2022, Mr. Roche (though not Roche Freedman)
filed a motion to withdraw as counsel. ECF No. 229. Later that day, the B/T Defendants submitted




1
  Selendy Gay Elsberg and Schneider Wallace were not aware of the affidavits of the class repre-
sentatives until they were filed as exhibits to Roche Freedman’s letter. See ECF Nos. 232-2–232-
6. Although Selendy Gay Elsberg and Schneider Wallace respect the opinions expressed in those
affidavits, they believe their duty as interim class counsel is to “the interests of the class” as a
whole. See Fed. R. Civ. P. 23(g)(4).
2
 See Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm,
Roche Freedman, CRYPTO LEAKS (Aug. 26, 2022), available at https://cryptoleaks.info/case-no-3.
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a letter asking the Court to terminate Roche Freedman as counsel for the class. ECF No. 230. The
Exchange Defendants filed a letter on September 1, joining this request. ECF No. 231. 3

        Given the content of the recordings—and the fact that Mr. Roche, in an August 29, 2022
public response, did not deny the recordings’ authenticity 4—Selendy Gay Elsberg and Schneider
Wallace asked Roche Freedman to withdraw as counsel to protect the interests of the class. Roche
Freedman declined to withdraw.

        Selendy Gay Elsberg and Schneider Wallace are not able to evaluate the credibility of
Roche Freedman’s statements concerning Ava Labs, AVAX tokens, or Mr. Roche’s position at his
firm or his financial interest in this litigation. However, Roche Freedman’s continued involvement
as counsel in the case is contrary to the best interests of the class. Roche Freedman’s continued
representation of the class would likely spawn significant discovery and motion practice as to the
veracity and/or import of the allegations. These issues are likely to unnecessarily distract from the
merits of this dispute, and can be avoided by the removal of Roche Freedman as class counsel.

        Selendy Gay Elsberg and Schneider Wallace are both experienced and capable class coun-
sel, with expertise in litigation concerning digital assets, and will continue to prosecute this action
on behalf of the class as interim co-lead counsel. For example, Selendy Gay Elsberg has been
appointed as co-lead counsel in numerous class actions in this district where the plaintiffs’ allega-
tions involve the technical details of dozens of different crypto-assets.

       To protect the interests of the putative class, we respectfully request that the Court termi-
nate Roche Freedman’s appointment as interim co-lead counsel.




3
  Selendy Gay Elsberg and Schneider Wallace disagree with Defendants’ claims that Plaintiffs
have sought “information that has no apparent link to the claims and defenses in this lawsuit,” ECF
No. 230 at 2, or which “related to broad aspects of the cryptocurrency industry but did not appear
related to any of the claims or defenses in this matter,” ECF No. 231 at 2 n.1. Rather than air that
dispute here, Plaintiffs will continue to meet and confer with Defendants in an effort to resolve
any remaining discovery issues without Court intervention. See ECF No. 228 at 2.
4
    https://medium.com/@kyleroche/my-response-b691563c255b
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   Respectfully submitted,

/s/ Caitlin Halligan                          /s/ Todd M. Schneider
Philippe Z. Selendy                           Todd M. Schneider (pro hac vice)
Caitlin Halligan                              Jason H. Kim (pro hac vice)
Andrew R. Dunlap                              Matthew S. Weiler (pro hac vice)
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adunlap@selendygay.com                        jkim@schneiderwallace.com
                                              mweiler@schneiderwallace.com

                  Interim Lead Counsel and Attorneys for Plaintiffs and the Proposed Class




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September 30, 2022

Via ECF and E-mail

The Honorable Katherine Polk Failla
U.S. District Court Southern District of New York
40 Foley Square, Room 2103
New York, NY 10007

Re:    In re Tether and Bitfinex Crypto Asset Litigation, 19-cv-09236 (KPF)

Dear Judge Failla:

       In advance of the October 3, 2022 hearing in the above-referenced matter, see ECF
No. 237, Selendy Gay Elsberg PLLC (“Selendy Gay Elsberg”) and Schneider Wallace Cottrell
Konecky LLP (“Schneider Wallace”) write in response to specific statements by Roche Freedman
LLP (“Roche Freedman”) and from the firms of Kirby McInerney LLP (“Kirby”) and The Radice
Law Firm (“Radice”). Selendy Gay Elsberg and Schneider Wallace write only in their capacity as
interim class counsel and specifically not on behalf of the named plaintiffs.

I.     Interim Lead Counsel Owe Duties to The Class as a Whole

       As we stated in our September 2, 2022 letter, ECF No. 234, we do not believe that Roche
Freedman’s continued involvement as interim lead counsel is in the best interests of the class. We
recognize the named plaintiffs have a different view, see ECF Nos. 232, and respectfully disagree.

        In its September 6, 2022 letter, Roche Freedman states: “[C]ontrary to what seems to be
implicit in” the September 2, 2022 letter from Selendy Gay Elsberg and Schneider Wallace, “their
clients are the named Plaintiffs—not absent class members.” ECF No. 236 at 3. To the extent
Roche Freedman argues that interim class counsel owe duties only to the named plaintiffs, and not
to absent class members, we disagree. The Federal Rules are clear that class counsel have a duty
“to act on behalf of a putative class,” Fed. R. Civ. P. 23(g)(3) (emphasis added), and that “Class
counsel must fairly and adequately represent the interests of the class,” Fed. R. Civ. P. 23(g)(4)
(emphasis added). Leading authorities recognize that interim lead counsel have the same obliga-
tions. See 6 Newberg and Rubenstein on Class Actions § 19:2 (6th ed., June 2022 Update)
(“[T]here is little doubt that an attorney pursuing a class suit has some duty to the prospective class
and generally must act in the class’s best interest.”); In re Gen. Motors Corp. Pick-Up Truck Fuel
Tank Prods. Liab. Litig., 55 F.3d 768, 801 (3d Cir. 1995) (“[C]lass attorneys, purporting to repre-
sent a class, also owe the entire class a fiduciary duty once the class complaint is filed.”).

        Because class counsel’s duties are to the class, if there is a disagreement between class
counsel and the named plaintiffs, it is counsel’s obligation to act in what they believe are the best
interests of the class as a whole. See Maywalt v. Parker & Parsley Petroleum Co., 155 F.R.D. 494,
496 (S.D.N.Y. 1994) (“Class Counsel must act in a way which best represents the interests of ‘the
entire class and is not dependent on the special desires of the named plaintiffs.’”), aff’d 67 F.3d
1072, 1078 (2d Cir. 1995) (quoting Parker v. Anderson, 667 F.2d 1204, 1211-12 (5th Cir. 1982)).
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Selendy Gay Elsberg and Schneider Wallace’s request that the Court remove Roche Freedman is
grounded in this understanding. 1

II.    Selendy Gay Elsberg and Schneider Wallace Should Remain as Interim Class Coun-
       sel

       Contrary to the views expressed by the Kirby and Radice law firms, a disagreement be-
tween named Plaintiffs and interim class counsel does not create an “untenable” situation. See ECF
No. 235 at 4. Any difference of opinion among interim class counsel has not interfered with their
vigorous pursuit of claims on behalf of the putative class, including in a recent motion to compel.
See ECF Nos. 239, 247.

      To the extent the Kirby and Radice firms suggest that Selendy Gay Elsberg and Schneider
Wallace should be removed as class counsel, we also disagree. Selendy Gay Elsberg and Schneider
Wallace have done substantial work on behalf of the putative class, including:

           filing a consolidated amended complaint reflecting substantial economic analysis and
           analysis of the blockchain, see ECF No. 114;

           opposing Defendants’ motions to dismiss, see ECF No. 182; and

           obtaining hard-fought discovery from Defendants, see ECF Nos. 223, 247.

Both firms are deeply familiar with crypto-assets, the operation of crypto-exchanges, and the op-
eration and evolution of the markets for stablecoins and cryptocommodities. Kirby and Radice, in
contrast, admit they “have not been involved in the litigation,” ECF No. 235 at 2 n.6, and identify
no meaningful experience in litigation concerning crypto-assets. Removing Selendy Gay Elsberg
and Schneider Wallace and appointing Kirby and Radice would prejudice the class by saddling the
class with counsel less versed in the subject matter and unfamiliar with the progress of the case.
This wholesale substitution would also likely require extensions to the discovery schedule while
Kirby and Radice familiarize themselves with the case.




1
  In further support of our understanding that we owe fiduciary duties to the class as a whole, we
respectfully submit as Exhibit 1 the Declaration of Bruce Green, an expert in professional respon-
sibility and legal ethics whom Selendy Gay Elberg and Schneider Wallace have retained in con-
nection with this matter.
                                                2
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   Respectfully submitted,

/s/ Caitlin Halligan                          /s/ Todd M. Schneider
Philippe Z. Selendy                           Todd M. Schneider (pro hac vice)
Caitlin Halligan                              Jason H. Kim (pro hac vice)
Andrew R. Dunlap                              Matthew S. Weiler (pro hac vice)
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